                 Case 10-19957-RGM                                Doc 1         Filed 11/27/10 Entered 11/27/10 15:44:56                                                   Desc Main11/27/10 3:46PM
                                                                               Document      Page 1 of 58
B1 (Official Form 1)(4/10)
                                                  United States Bankruptcy Court
                                                          Eastern District of Virginia                                                                              Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Hassan, Mohamed E                                                                                            Hassan, Miriam A


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-0157                                                                                                  xxx-xx-7272
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  3500 James Madison Highway                                                                                  3500 James Madison Highway
  Haymarket, VA                                                                                               Haymarket, VA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         20169                                                                                         20169
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Prince William                                                                                               Prince William
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
             Case 10-19957-RGM                       Doc 1       Filed 11/27/10 Entered 11/27/10 15:44:56                                           Desc Main11/27/10 3:46PM
                                                                Document      Page 2 of 58
B1 (Official Form 1)(4/10)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Hassan, Mohamed E
(This page must be completed and filed in every case)                                   Hassan, Miriam A
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Scott Alan Weible, Esq.                       November 27, 2010
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Scott Alan Weible, Esq. 75633

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                   Document      Page 3 of 58
B1 (Official Form 1)(4/10)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Hassan, Mohamed E
(This page must be completed and filed in every case)                                       Hassan, Miriam A
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Mohamed E Hassan                                                                 X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Mohamed E Hassan

 X    /s/ Miriam A Hassan                                                                      Printed Name of Foreign Representative
     Signature of Joint Debtor Miriam A Hassan
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     November 27, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Scott Alan Weible, Esq.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Scott Alan Weible, Esq. 75633                                                            debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Scott Alan Weible, P.L.L.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      The Haymarket Professional Building
      14540 John Marshall Highway, Suite 201                                                   Social-Security number (If the bankrutpcy petition preparer is not
      Gainesville, VA 20155-1693                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                               Email: admin@weible.com
      703-754-2092 Fax: 703-754-2093
     Telephone Number
     November 27, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
            Case 10-19957-RGM                            Doc 1          Filed 11/27/10 Entered 11/27/10 15:44:56         Desc Main
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Eastern District of Virginia
             Mohamed E Hassan
 In re       Miriam A Hassan                                                                             Case No.
                                                                                      Debtor(s)          Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

         3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                       Page 2



         4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                 Active military duty in a military combat zone.

        5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:           /s/ Mohamed E Hassan
                                                                                         Mohamed E Hassan
                                                          Date:           November 27, 2010




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                                               Certificate Number: 01356-VAE-CC-013047544


                                                              01356-VAE-CC-013047544




                    CERTIFICATE OF COUNSELING

I CERTIFY that on November 18, 2010, at 8:11 o'clock AM EST, Mohamed
Hassan received from Hummingbird Credit Counseling and Education, Inc., an
agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the
Eastern District of Virginia, an individual [or group] briefing that complied with
the provisions of 11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet and telephone.




Date:   November 18, 2010                      By:      /s/Ana Ponce


                                               Name: Ana Ponce


                                               Title:   Certified Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                                                                       Document      Page 7 of 58                                 11/27/10 3:46PM




B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Eastern District of Virginia
             Mohamed E Hassan
 In re       Miriam A Hassan                                                                             Case No.
                                                                                      Debtor(s)          Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

         3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                       Page 2



         4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                 Active military duty in a military combat zone.

        5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:          /s/ Miriam A Hassan
                                                                                        Miriam A Hassan
                                                          Date:           November 27, 2010




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                                               Certificate Number: 01356-VAE-CC-013047545


                                                              01356-VAE-CC-013047545




                    CERTIFICATE OF COUNSELING

I CERTIFY that on November 18, 2010, at 8:11 o'clock AM EST, Miriam
Hassan received from Hummingbird Credit Counseling and Education, Inc., an
agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the
Eastern District of Virginia, an individual [or group] briefing that complied with
the provisions of 11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   November 18, 2010                      By:      /s/Ana Ponce


                                               Name: Ana Ponce


                                               Title:   Certified Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                          Eastern District of Virginia
  In re          Mohamed E Hassan,                                                                                Case No.
                 Miriam A Hassan
                                                                                                            ,
                                                                                           Debtors                Chapter                    13




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF         ASSETS               LIABILITIES              OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1                817,000.00


B - Personal Property                                            Yes                4                 20,175.00


C - Property Claimed as Exempt                                   Yes                2


D - Creditors Holding Secured Claims                             Yes                1                                       968,460.00


E - Creditors Holding Unsecured                                  Yes                1                                             0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                5                                       184,864.00
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                2                                                                 7,970.40
    Debtor(s)

J - Current Expenditures of Individual                           Yes                2                                                                 7,644.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          20


                                                                           Total Assets              837,175.00


                                                                                             Total Liabilities          1,153,324.00




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Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                          Eastern District of Virginia
  In re           Mohamed E Hassan,                                                                                        Case No.
                  Miriam A Hassan
                                                                                                                ,
                                                                                             Debtors                       Chapter            13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                        Amount

              Domestic Support Obligations (from Schedule E)                                                            0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                        0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                        0.00

              Student Loan Obligations (from Schedule F)                                                        42,389.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                        0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                        0.00

                                                                                     TOTAL                      42,389.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                             7,970.40

              Average Expenses (from Schedule J, Line 18)                                                           7,644.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                              6,151.19


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                      141,460.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                        0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                            0.00

              4. Total from Schedule F                                                                                                184,864.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            326,324.00




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B6A (Official Form 6A) (12/07)


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  In re          Mohamed E Hassan,                                                                                         Case No.
                 Miriam A Hassan
                                                                                                               ,
                                                                                                Debtors
                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
                 Description and Location of Property                                 Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption

3500 James Madison Hwy, Haymarket, VA 20169.                                         Tenants by the Entirety       J                  807,000.00               922,800.00
Lender conducted unnoticed, illegal and void                                         WROS
foreclosure sale on about July 21, 2010. Debtors
have challenged this unlawful act and are currently
appealing the Prince William District Court's Order
in an unlawful detainer action. Debtors are
bringing an adversary proceeding to set aside the
unnoticed, illegal and void foreclosure.

Undeveloped land in Alta Vista, VA.                                                  Tenants in Common             J                   10,000.00                45,660.00




                                                                                                               Sub-Total >            817,000.00       (Total of this page)

                                                                                                                       Total >        817,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                               (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re          Mohamed E Hassan,                                                                                          Case No.
                 Miriam A Hassan
                                                                                                                ,
                                                                                               Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                          X

2.    Checking, savings or other financial                      Cash in hand.                                                          J                            20.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                        Access National Bank checking account ending in                        J                           800.00
      thrift, building and loan, and                            7388.
      homestead associations, or credit
      unions, brokerage houses, or                              BB&T checking account ending in 0914.                                  H                        2,000.00
      cooperatives.
                                                                Wachovia checking and savings account ending in                        J                           450.00
                                                                8064 & 7955.

3.    Security deposits with public                         X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          Master bedroom, Living Room, Dining Room,                              J                        2,000.00
      including audio, video, and                               Family Room, Children bedrooms, Mother bedroom,
      computer equipment.                                       Office, and breakfast area

                                                                Washer, Dryer, Refergirator, and microwave (all                        J                        1,000.00
                                                                about 5 years old)

                                                                2 computers purchased in 2005, 2 laptops                               J                           750.00
                                                                purchased in 2007, Printer, Fax and scanner all in
                                                                one

                                                                Lawn care equipment.                                                   J                           250.00

5.    Books, pictures and other art                         X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                          Debtors' and Joint Debtor's clothes and personal                       J                           750.00
                                                                effects.

7.    Furs and jewelry.                                     X




                                                                                                                                       Sub-Total >            8,020.00
                                                                                                                           (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          Mohamed E Hassan,                                                                                          Case No.
                 Miriam A Hassan
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

8.    Firearms and sports, photographic,                        Firearms: Two 30 year old pistols, 8 year old shot                     H                           600.00
      and other hobby equipment.                                gun, and three 30 year old rifles.

9.    Interests in insurance policies.                      X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                        X
    issuer.

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                      X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                     X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                       Anticipated 2010 income tax refunds.                                   J                              2.00
    including tax refunds. Give particulars.


19. Equitable or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.


                                                                                                                                       Sub-Total >              602.00
                                                                                                                           (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Mohamed E Hassan,                                                                                          Case No.
                 Miriam A Hassan
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

20. Contingent and noncontingent                                Inchoate inheritance                                                   H                              1.00
    interests in estate of a decedent,
    death benefit plan, life insurance                          Inchoate inheritance.                                                  W                              1.00
    policy, or trust.

21. Other contingent and unliquidated                       X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          2000 Ford Truck F350 (180,000 miles).                                  H                        1,275.00
    other vehicles and accessories.
                                                                2005 BMW 325i (98,000 miles).                                          W                        7,275.00

                                                                2004 Honda Shadow Motorcycle (9,000 miles)                             H                        1,000.00

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                      X
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                    4 horses (24, 12, 10 and 3 years old)                                  J                        2,000.00

                                                                1 Dog and 1 Cat                                                        J                              1.00



                                                                                                                                       Sub-Total >          11,553.00
                                                                                                                           (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Mohamed E Hassan,                                                                                          Case No.
                 Miriam A Hassan
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.

34. Farm supplies, chemicals, and feed.                     X

35. Other personal property of any kind                     X
    not already listed. Itemize.




                                                                                                                                       Sub-Total >                  0.00
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                                                                                                                                            Total >         20,175.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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   In re          Mohamed E Hassan,                                                                                            Case No.
                  Miriam A Hassan
                                                                                                                   ,
                                                                                                Debtors
                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                               with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                         Value of                 Current Value of
                    Description of Property                                                Each Exemption                             Claimed                  Property Without
                                                                                                                                     Exemption               Deducting Exemption
Husband's Exemptions
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Cash in hand.                                     Va. Code Ann. § 34-4                                                                           10.00                            20.00

Access National Bank checking account ending                                   Va. Code Ann. § 34-4                                            800.00                            800.00
in 7388.

BB&T checking account ending in 0914.                                          Va. Code Ann. § 34-4                                          2,000.00                         2,000.00

Wachovia checking and savings account                                          Va. Code Ann. § 34-4                                            225.00                            450.00
ending in 8064 & 7955.

Wearing Apparel
Debtors' and Joint Debtor's clothes and                                        Va. Code Ann. § 34-26(4)                                        375.00                            750.00
personal effects.

Other Liquidated Debts Owing Debtor Including Tax Refund
Anticipated 2010 income tax refunds.             Va. Code Ann. § 34-4                                                                              1.00                             2.00

Contingent and Non-contingent Interests in Estate of a Decedent
Inchoate inheritance                               Va. Code Ann. § 34-4                                                                            1.00                             1.00

Inchoate inheritance.                                                          Va. Code Ann. § 34-4                                                1.00                             1.00

Automobiles, Trucks, Trailers, and Other Vehicles
2000 Ford Truck F350 (180,000 miles).                                          Va. Code Ann. § 34-26(8)                                      1,275.00                         1,275.00

Animals
4 horses (24, 12, 10 and 3 years old)                                          Va. Code Ann. § 34-26(5)                                      1,000.00                         2,000.00

1 Dog and 1 Cat                                                                Va. Code Ann. § 34-26(5)                                            1.00                             1.00




                                                                                                                   Total:                    5,689.00                         7,300.00
    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/10) -- Cont.




   In re          Mohamed E Hassan,                                                                                 Case No.
                  Miriam A Hassan
                                                                                                                ,
                                                                                                 Debtors
                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                        (Continuation Sheet)

                                                                                        Specify Law Providing           Value of             Current Value of
                    Description of Property                                                Each Exemption               Claimed              Property Without
                                                                                                                       Exemption           Deducting Exemption

Wife's Exemptions
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Cash in hand.                                     Va. Code Ann. § 34-4                                                           10.00                      20.00

Wachovia checking and savings account                                          Va. Code Ann. § 34-4                             225.00                     450.00
ending in 8064 & 7955.

Wearing Apparel
Debtors' and Joint Debtor's clothes and                                        Va. Code Ann. § 34-26(4)                         375.00                     750.00
personal effects.

Other Liquidated Debts Owing Debtor Including Tax Refund
Anticipated 2010 income tax refunds.             Va. Code Ann. § 34-4                                                              1.00                       2.00

Automobiles, Trucks, Trailers, and Other Vehicles
2005 BMW 325i (98,000 miles).                                                  Va. Code Ann. § 34-26(8)                        2,000.00                 7,275.00

Animals
4 horses (24, 12, 10 and 3 years old)                                          Va. Code Ann. § 34-26(5)                        1,000.00                 2,000.00




                                                                                                     Total:                    3,611.00                10,497.00
 Sheet       1    of     1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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   In re          Mohamed E Hassan,                                                                                              Case No.
                  Miriam A Hassan
                                                                                                                    ,
                                                                                                   Debtors
                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                              O    N   I
                                                              D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                               B   W           NATURE OF LIEN, AND                            I    Q   U                      PORTION, IF
                                                              T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                  C                OF PROPERTY
                                                              R
                                                                                 SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxxxxxxxxx9002                                           Opened 12/01/05 Last Active 9/02/10                         E
                                                                                                                                  D

BB & T                                                                First Mortgage
Attn: Bankruptcy Dept
Po Box 1847                                                           Undeveloped land in Alta Vista, VA.
                                                              X J
Wilson, NC 54221

                                                                       Value $                               20,000.00                         45,660.00           25,660.00
Account No. xxxxxx2769                                              08/22/2006
                                                                    First Mortgage
                                                                    3500 James Madison Hwy, Haymarket,
GMAC Mortgage                                                       VA 20169. Lender conducted unnoticed,
3451 Hammond Ave                                                    illegal and void foreclosure sale on
                                                                    about July 21, 2010. Debtors have
Waterloo, IA 50702
                                                                  H challenged this unlawful act and are   X X X
                                                                    currently appealing the Prince William

                                                                       Value $                           807,000.00                           922,800.00         115,800.00
Account No.




                                                                       Value $
Account No.




                                                                       Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                            968,460.00         141,460.00
                                                                                                                 (Total of this page)
                                                                                                                           Total              968,460.00         141,460.00
                                                                                                 (Report on Summary of Schedules)

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  In re          Mohamed E Hassan,                                                                                                 Case No.
                 Miriam A Hassan
                                                                                                                      ,
                                                                                                  Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0          continuation sheets attached
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   In re          Mohamed E Hassan,                                                                                      Case No.
                  Miriam A Hassan
                                                                                                                     ,
                                                                                                   Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxxxxx5303                                                        2/01/02                                                 T   T
                                                                                                                                                E
                                                                                    Misc. household/personal items.                             D

Aspire/CB&T
9 Mutec Drive                                                                   J                                                           X X X
Columbus, GA 31907

                                                                                                                                                                       3,913.00
Account No. xxxxxxxxxxxx7857                                                        11/01/07
                                                                                    Misc. household/personal items.
Barclays Bank Delaware
Attn: Customer Support Dept.                                                    J                                                           X X X
PO Box 8833
Wilmington, DE 19899
                                                                                                                                                                       3,504.00
Account No. xxxxxxxxxxxxxxxxxxx0821                                                 8/01/09
                                                                                    Educational
Chela
Attn: Bankruptcy                                                                H
PO Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                     12,750.00
Account No. xxxxxxxxxxxxxxxxxxx0821                                                 8/01/09
                                                                                    Educational
Chela
Attn: Bankruptcy                                                                H
PO Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                       8,500.00

                                                                                                                                        Subtotal
 4
_____ continuation sheets attached                                                                                                                                   28,667.00
                                                                                                                              (Total of this page)




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   In re          Mohamed E Hassan,                                                                                      Case No.
                  Miriam A Hassan
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxxxxxxxxxxx0001                                                       7/01/08                                                 E
                                                                                    Misc. household/personal items.                         D

CNH Capital America LLC
233 Lake Ave                                                                    H                                                           X
Racine, WI 53403

                                                                                                                                                                 2,309.00
Account No. xxxxxxxxxxxxxxxxxxx0225                                                 2/01/09
                                                                                    Educational
Dept Of Ed/Sallie Mae
PO Box 9635                                                                     H
Wilkes Barre, PA 18773

                                                                                                                                                                 8,500.00
Account No. xxxxxxxxxxxxxxxxxxx0820                                                 8/01/10
                                                                                    Educational
Dept Of Ed/Sallie Mae
PO Box 9635                                                                     H
Wilkes Barre, PA 18773

                                                                                                                                                                 6,046.00
Account No. xxxxxxxxxxxxxxxxxxx0820                                                 8/01/10
                                                                                    Educational
Dept Of Ed/Sallie Mae
PO Box 9635                                                                     H
Wilkes Barre, PA 18773

                                                                                                                                                                 4,250.00
Account No. xxxxxxxxxxxxxxxxxxx0225                                                 2/01/09
                                                                                    Educational
Dept Of Ed/Sallie Mae
PO Box 9635                                                                     H
Wilkes Barre, PA 18773

                                                                                                                                                                 2,343.00

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               23,448.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Mohamed E Hassan,                                                                                      Case No.
                  Miriam A Hassan
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxx xx xxxx xx xxxxx4325                                              7/21/2010                                                 E
                                                                                  Claims arising out of void foreclosure, on                D

Deutsche Bank Trust Co                                                            7/21/2010, of Debtor's home located at 3500
c/o Johnson & Freedman, LLC                                                     J James Madison Highway, Haymarket, VA                  X X X
1845 W. Plaza Drive, Suite A                                                      20169.
Winchester, VA 22601
                                                                                                                                                                Unknown
Account No. xxxxx0736                                                               11/01/08
                                                                                    Misc. household/personal items.
Dyck Oneal Inc
15301 Spectrum Dr                                                               J                                                       X X X
Addison, TX 75001

                                                                                                                                                               51,031.00
Account No. xxxxxxxxxxxx3114                                                        7/29/2008
                                                                                    Loan for an operation for our daughter Nora.
Equable Ascent Finance, LLC
1120 West Lake Co.                                                              J                                                               X
Buffalo Grove, IL 60089

                                                                                                                                                               16,367.00
Account No. xxxxxxxxxxxx4649                                                        5/1/2009
                                                                                    Misc. household/personal items.
Equable Ascent Finance, LLC
1120 West Lake Co                                                               J                                                           X X
Buffalo Grove, IL 60089

                                                                                                                                                                 9,178.00
Account No. xxx2830                                                                 7/01/09
                                                                                    Collection Company Account For Chase Bank
Hilco Rec                                                                           USA N.A
Attn: Bankruptcy                                                                H                                                           X X
1120 Lake Cook Road Suite B
Buffalo Grove, IL 60089
                                                                                                                                                               16,367.00

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               92,943.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Mohamed E Hassan,                                                                                      Case No.
                  Miriam A Hassan
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxx6388                                                                 7/01/09                                                 E
                                                                                    Collection Company Account for GE Capital               D

Hilco Rec                                                                           Corp.
Attn: Bankruptcy                                                                H                                                           X X
1120 Lake Cook Road Suite B
Buffalo Grove, IL 60089
                                                                                                                                                               13,381.00
Account No. xxx8135                                                                 5/01/09
                                                                                    Collection Company Account for Chase Bank
Hilco Rec                                                                           Usa N.A
Attn: Bankruptcy                                                                J                                                           X X
1120 Lake Cook Road Suite B
Buffalo Grove, IL 60089
                                                                                                                                                                 9,178.00
Account No. xxxxxxxxxxxx5153                                                        1/01/08
                                                                                    Misc. household/personal items.
HSBC Bank
PO Box 5253                                                                     H
Carol Stream, IL 60197

                                                                                                                                                                 1,526.00
Account No. xxxxxxxxx2820                                                           2/01/02
                                                                                    Misc. household/personal items.
Macys/fdsb
Attn: Bankruptcy                                                                J
PO Box 8053
Mason, OH 45040
                                                                                                                                                                   632.00
Account No. xxxxxx3612                                                              9/01/09
                                                                                    Collection Company Account Aspire Visa.
Midland Credit Management
PO Box 939019                                                                   J                                                           X X
San Diego, CA 92193

                                                                                                                                                                 4,143.00

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               28,860.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Mohamed E Hassan,                                                                                            Case No.
                  Miriam A Hassan
                                                                                                                      ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
                                                                            B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxxxxxxx0013                                                        6/01/08                                                        E
                                                                                    Collection Attorney for Southside Electric                     D

Online Collections                                                                  Co-Op
PO Box 1489                                                                     J                                                                  X X
Winterville, NC 28590

                                                                                                                                                                        1,434.00
Account No. xxxxx8940                                                               1/1/2010
                                                                                    Utility Bill
Sprint
2703 W. Highway 75                                                              J                                                                  X X
Sherman, TX 75092

                                                                                                                                                                          835.00
Account No. xxxxxxxxxxxx3677                                                        4/01/06
                                                                                    Misc. household/personal items.
Visa DSNB
Attn: Bankruptcy                                                                J                                                                  X X
PO Box 8053
Mason, OH 45040
                                                                                                                                                                        8,677.00
Account No.




Account No.




           4
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                      10,946.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)               184,864.00


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  In re             Mohamed E Hassan,                                                                                 Case No.
                    Miriam A Hassan
                                                                                                           ,
                                                                                           Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.

                     AT&T Mobility                                                            Cell phone contract.
                     ATTN: Bankruptcy Dept
                     5407 Andrews Highway
                     Midland, TX 79706




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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  In re          Mohamed E Hassan,                                                                              Case No.
                 Miriam A Hassan
                                                                                                        ,
                                                                                           Debtors
                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                NAME AND ADDRESS OF CREDITOR

                  Louis J. Giangi                                                             BB & T
                  1413 Hague Drive SW                                                         Attn: Bankruptcy Dept
                  Leesburg, VA 20175                                                          Po Box 1847
                    Mohamed E. Hassan's joint owner of property                               Wilson, NC 54221
                  located Alta Vista, VA.

                  Mr. Giange's last known phone number is
                  703-863-4152.




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

          Mohamed E Hassan
 In re    Miriam A Hassan                                                                               Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Daughter                                                    20
                                             Son                                                         23
                                             Mother                                                      82
Employment:                                           DEBTOR                                                   SPOUSE
Occupation                          Teacher Assistant                                        Operation Support Coordinator
Name of Employer                    George Mason University                                  DeVry University
How long employed                   One year 6 month                                         1 year 6 months
Address of Employer                 4400 University Drive                                    One Tower Lane
                                    Fairfax, VA 22030                                        Oakbrook Terrace, IL 60181
INCOME: (Estimate of average or projected monthly income at time case filed)                               DEBTOR                       SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $      1,400.00    $               3,433.34
2. Estimate monthly overtime                                                                           $          0.00    $                  21.45

3. SUBTOTAL                                                                                              $         1,400.00       $         3,454.79


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             26.84      $            402.07
     b. Insurance                                                                                        $              0.00      $            232.57
     c. Union dues                                                                                       $              0.00      $              0.00
     d. Other (Specify)        See Detailed Income Attachment                                            $              0.00      $            222.91

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             26.84      $            857.55

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,373.16       $         2,597.24

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $              0.00      $               0.00
8. Income from real property                                                                             $              0.00      $               0.00
9. Interest and dividends                                                                                $              0.00      $               0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $               0.00
11. Social security or government assistance
(Specify):                                                                                               $              0.00      $               0.00
                                                                                                         $              0.00      $               0.00
12. Pension or retirement income                                                                         $              0.00      $               0.00
13. Other monthly income
(Specify):           Architectural services                                                              $              0.00      $         4,000.00
                                                                                                         $              0.00      $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $              0.00      $         4,000.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,373.16       $         6,597.24

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            7,970.40
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Due to the closing of Mr. Hassan's engineering company in 2007, his income dropped. Since that time he has been
         developing his private architectural clientele and his income has been steadily increasing. He also teaches
         Engineering at NOVA. The combined additional income from these sources represents the business income
         reported on line 13.
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B6I (Official Form 6I) (12/07)

          Mohamed E Hassan
 In re    Miriam A Hassan                                                  Case No.
                                                       Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                          Detailed Income Attachment
Other Payroll Deductions:
Dependent Life Insurance                                                   $          0.00      $         23.51
Short Term Disability                                                      $          0.00      $          3.16
Supplemental Life                                                          $          0.00      $         23.49
401(K)                                                                     $          0.00      $        172.75
Total Other Payroll Deductions                                             $          0.00      $        222.91
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B6J (Official Form 6J) (12/07)

          Mohamed E Hassan
 In re    Miriam A Hassan                                                                     Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                4,000.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                           $                  400.00
                   b. Water and sewer                                                                        $                    0.00
                   c. Telephone                                                                              $                  185.00
                   d. Other See Detailed Expense Attachment                                                  $                  459.00
3. Home maintenance (repairs and upkeep)                                                                     $                  250.00
4. Food                                                                                                      $                1,000.00
5. Clothing                                                                                                  $                  100.00
6. Laundry and dry cleaning                                                                                  $                   50.00
7. Medical and dental expenses                                                                               $                  100.00
8. Transportation (not including car payments)                                                               $                  400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   50.00
10. Charitable contributions                                                                                 $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                     0.00
                   b. Life                                                                                   $                     0.00
                   c. Health                                                                                 $                     0.00
                   d. Auto                                                                                   $                   250.00
                   e. Other                                                                                  $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                      0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                     0.00
                   b. Other                                                                                  $                     0.00
                   c. Other                                                                                  $                     0.00
14. Alimony, maintenance, and support paid to others                                                         $                   400.00
15. Payments for support of additional dependents not living at your home                                    $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                     0.00
17. Other                                                                                                    $                     0.00
    Other                                                                                                    $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                7,644.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                7,970.40
b. Average monthly expenses from Line 18 above                                                               $                7,644.00
c. Monthly net income (a. minus b.)                                                                          $                  326.40
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B6J (Official Form 6J) (12/07)
          Mohamed E Hassan
 In re    Miriam A Hassan                                                 Case No.
                                                       Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment
Other Utility Expenditures:
Cell telephone                                                                       $               300.00
Internet & Cable TV                                                                  $               159.00
Total Other Utility Expenditures                                                     $               459.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                 United States Bankruptcy Court
                                                                          Eastern District of Virginia
             Mohamed E Hassan
 In re       Miriam A Hassan                                                                                     Case No.
                                                                                          Debtor(s)              Chapter    13




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of             22
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date November 27, 2010                                                       Signature   /s/ Mohamed E Hassan
                                                                                          Mohamed E Hassan
                                                                                          Debtor


 Date November 27, 2010                                                       Signature   /s/ Miriam A Hassan
                                                                                          Miriam A Hassan
                                                                                          Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                         Eastern District of Virginia
             Mohamed E Hassan
 In re       Miriam A Hassan                                                                                   Case No.
                                                                                         Debtor(s)             Chapter        13


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $41,931.99                              2010 Wife - DeVry University.
                          $11,000.00                              2010 Husband - George Mason.
                          $45,129.00                              2009 Husband/Wife - Employer George Mason University|DeVry University
                          $37,220.00                              2008 Husband/Wife - Employer George Mason University|DeVry University




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               2. Income other than from employment or operation of business

     None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                  SOURCE

               3. Payments to creditors

     None      Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                              DATES OF                                               AMOUNT STILL
       OF CREDITOR                                                                PAYMENTS                       AMOUNT PAID               OWING

     None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                      AMOUNT
                                                                                  DATES OF                             PAID OR
                                                                                  PAYMENTS/                          VALUE OF            AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                                  TRANSFERS                         TRANSFERS              OWING

     None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                                   DATE OF PAYMENT                AMOUNT PAID               OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

     None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                           NATURE OF         COURT OR AGENCY                           STATUS OR
    AND CASE NUMBER                                                           PROCEEDING        AND LOCATION                              DISPOSITION
    Midland Funding LLC v. Miriam Hassan                                      Warrant in Debt   Prince William County General District    Judgment for
    GV10007355-00                                                                               Court                                     Plaintiff
                                                                                                9311 Lee Avenue
                                                                                                Manassas, VA 20110
    Midland Funding LLC v. Miriam Hassan                                      Garnishment       Prince William County General District    Pending
    GV10007355-01                                                             Summons           Court                                     hearing on
                                                                                                9311 Lee Avenue                           January 25,
                                                                                                Manassas, VA 20110                        2011




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                                             3

 CAPTION OF SUIT                                                              NATURE OF          COURT OR AGENCY                          STATUS OR
 AND CASE NUMBER                                                              PROCEEDING         AND LOCATION                             DISPOSITION
 Deutsche Bank Trust Compay Americas as                                       Unlawful           Prince William County General District   Appealed by
 Trustee v. Mohamed Hassan & Miriam Hassan.                                   Detainer           Court                                    Debtors.
 GV10014325-00                                                                                   9311 Lee Avenue
                                                                                                 Manassas, VA 20110
 Deutsche Bank Trust Compay Americas as                                       General District   Prince William County Circuit Court      Pending
 Trustee v. Mohamed Hassan & Miriam Hassan.                                   Court Appeal       9311 Lee Avenue                          hearing on
 CL10005968-00                                                                                   Manassas, VA 20110                       12/07/10.
 Mohamed Hassan v. Brad Smith                                                 Warrant in Debt    Prince William County General District   Case
 GV09020726-00                                                                                   Court                                    Dismissed
                                                                                                 9311 Lee Avenue
                                                                                                 Manassas, VA 20110

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE               PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                        DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                      FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                     TRANSFER OR RETURN                     PROPERTY
 GMAC Mortgage                                                        July 21, 2010                    Void, Unlawful Foreclosure carried out
 3500 James Madison hwy                                                                                7/21/2010.
 Haymarket, VA 20169                                                                                   Debtors' Residence.
                                                                                                       Value: 807,000.00
 GMAC Mortgage                                                        5/18/2009                        Foreclosure.
 3496 James Madison Hwy                                                                                Rental Property owner by both husband and wife
 Haymarket, VA 20169                                                                                   Value: 440,000.00

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                       TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                          DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                    ORDER                PROPERTY




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                                                                                                                                                              4

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                             OF PROPERTY
 Scott Alan Weible, P.L.L.C.                                                    10/21/2010.                           $3,250.00 fees deposit.
 The Haymarket Professional Building                                                                                  $850.00 costs deposit.
 14540 John Marshall Highway, Suite 201
 Gainesville, VA 20155-1693

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                      DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                   DATE                           AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                               AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)             IN PROPERTY




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               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                 AND AMOUNT OF FINAL BALANCE                   OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                   DESCRIPTION                 DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                   OF CONTENTS                  SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY             LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                               DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME




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               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                             NAME AND ADDRESS OF                   DATE OF                    ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                     NOTICE                     LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                   DATE OF                    ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                     NOTICE                     LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                          STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                    LAST FOUR DIGITS OF
                    SOCIAL-SECURITY OR
                    OTHER INDIVIDUAL
                    TAXPAYER-I.D. NO.                                                                                            BEGINNING AND
 NAME               (ITIN)/ COMPLETE EIN                                  ADDRESS                  NATURE OF BUSINESS            ENDING DATES
 Mohamed E. Hassan, 0157                                                  Engineering Consulting   Architectural                 2008 to present
 P.E.                                                                     3500 James Madison       Engineering
                                                                          Highway                  Consultating
                                                                          Haymarket, VA 20169




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                                                                                                                                                                7
    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                             DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                 ADDRESS                                                 DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                             ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                       DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                              DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                    INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                           NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                         RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                             NATURE OF INTEREST                        PERCENTAGE OF INTEREST




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                                                                                                                                                                     8
    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                     NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                             TITLE                                  OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                            ADDRESS                                                   DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                             TITLE                                  DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                             AMOUNT OF MONEY
 OF RECIPIENT,                                                                DATE AND PURPOSE                              OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                       OF WITHDRAWAL                                 VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                     TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date November 27, 2010                                                       Signature        /s/ Mohamed E Hassan
                                                                                               Mohamed E Hassan
                                                                                               Debtor


 Date November 27, 2010                                                       Signature        /s/ Miriam A Hassan
                                                                                               Miriam A Hassan
                                                                                               Joint Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571



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Form B203                                                                                                        2005 USBC, Eastern District of Virginia
                                                                United States Bankruptcy Court
                                                                         Eastern District of Virginia
             Mohamed E Hassan
 In re       Miriam A Hassan                                                                                Case No.
                                                                                         Debtor(s)          Chapter      13


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
       compensation paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
       bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                $                  3,250.00
             Prior to the filing of this statement I have received                                      $                  3,250.00
             Balance Due                                                                                $                       0.00

2.     $    274.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                  Other (specify)

4.     The source of compensation to be paid to me is:
                   Debtor                  Other (specify)

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. Other provisions as needed:
          Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of one
          reaffirmation agreement per debtor and applications as needed; preparation and filing of motions pursuant to 11 USC
          522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:
         Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any
         other adversary proceeding.




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Form B203 - Continued                                                                                                     2005 USBC, Eastern District of Virginia
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 27, 2010                                                                    /s/ Scott Alan Weible, Esq.
     Date                                                                                 Scott Alan Weible, Esq. 75633
                                                                                          Signature of Attorney

                                                                                          Scott Alan Weible, P.L.L.C.
                                                                                          Name of Law Firm
                                                                                          The Haymarket Professional Building
                                                                                          14540 John Marshall Highway, Suite 201
                                                                                          Gainesville, VA 20155-1693
                                                                                          703-754-2092 Fax: 703-754-2093



                                  For use in Chapter 13 Cases where Fees Requested Not in Excess of $3,000
                                                 (For all Cases Filed on or after 10/17/2005)
                                            NOTICE TO DEBTOR(S) AND STANDING TRUSTEE
                                            PURSUANT TO INTERIM PROCEDURE 2016-1(C)(7)

            Notice is hereby given that pursuant to Local Bankruptcy Rule 2016-1(C)(7)(a), you have ten (10) business days from the meeting of
 creditors in this case in which to file an objection with the court to the fees requested in this disclosure of compensation opposing said fees in their
 entirety, or in a specific amount.


                                                                            PROOF OF SERVICE
           The undersigned hereby certifies that on this date the foregoing Notice was served upon the debtor(s), the standing Chapter 13 Trustee,
 and U. S. Trustee pursuant to Interim Procedure 2016-1(C)(7)(a) and Local Bankruptcy Rule 2002-1(D)(1)(f), by first-class mail or electronically.


     November 27, 2010                                                                          /s/ Scott Alan Weible, Esq.
     Date                                                                                       Scott Alan Weible, Esq. 75633
                                                                                                Signature of Attorney




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                         EASTERN DISTRICT OF VIRGINIA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Eastern District of Virginia
             Mohamed E Hassan
 In re       Miriam A Hassan                                                                                     Case No.
                                                                                       Debtor(s)                 Chapter        13


                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                             Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Mohamed E Hassan
 Miriam A Hassan                                                                         X /s/ Mohamed E Hassan                      November 27, 2010
 Printed Name(s) of Debtor(s)                                                              Signature of Debtor                       Date

 Case No. (if known)                                                                     X /s/ Miriam A Hassan                       November 27, 2010
                                                                                           Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                        American Express
                        c/o Becket and Lee
                        Po Box 3001
                        Malvern, PA 19355


                        American Express
                        PO Box 981535
                        El Paso, TX 79998-1535


                        Aspire/CB&T
                        9 Mutec Drive
                        Columbus, GA 31907


                        Barclays Bank Delaware
                        Attn: Customer Support Dept.
                        PO Box 8833
                        Wilmington, DE 19899


                        Barclays Bank Delaware
                        125 S West Street
                        Wilmington, DE 19801


                        BB & T
                        Attn: Bankruptcy Dept
                        Po Box 1847
                        Wilson, NC 54221


                        BB & T
                        PO Box 1847
                        Wilson, NC 27894


                        Chase Bank USA
                        PO Box 15153
                        Wilmington, DE 19886


                        Chela
                        Attn: Bankruptcy
                        PO Box 9500
                        Wilkes-Barre, PA 18773


                        Chela
                        PO Box 9500
                        Wilkes Barre, PA 18773
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                    Chevy Chase Bank
                    6151 Chevy Chase Drive
                    Laurel, MD 20707-2918


                    CNH Capital America LLC
                    233 Lake Ave
                    Racine, WI 53403


                    Dept Of Ed/Sallie Mae
                    PO Box 9635
                    Wilkes Barre, PA 18773


                    Deutsch Bank Trust Co.
                    c/o Johnson & Freedman, LLC
                    1845 W. Plaza Drive, Suite A
                    Winchester, VA 22601


                    Deutsche Bank Trust Co
                    c/o Johnson & Freedman, LLC
                    1845 W. Plaza Drive, Suite A
                    Winchester, VA 22601


                    Dyck Oneal Inc
                    15301 Spectrum Dr
                    Addison, TX 75001


                    Equable Ascent Finance, LLC
                    1120 West Lake Co.
                    Buffalo Grove, IL 60089


                    Equable Ascent Finance, LLC
                    1120 West Lake Co
                    Buffalo Grove, IL 60089


                    GE Capital
                    901 Main Avenue
                    Norwalk, CT 06851


                    GMAC Mortgage
                    3451 Hammond Ave
                    Waterloo, IA 50702
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                    Hilco Rec
                    Attn: Bankruptcy
                    1120 Lake Cook Road Suite B
                    Buffalo Grove, IL 60089


                    Hilco Rec
                    1120 West Lake Co
                    Buffalo Grove, IL 60089


                    HSBC Bank
                    PO Box 5253
                    Carol Stream, IL 60197


                    Louis J. Giangi
                    1413 Hague Drive SW
                    Leesburg, VA 20175


                    Macys/fdsb
                    Attn: Bankruptcy
                    PO Box 8053
                    Mason, OH 45040


                    Macys/FDSB
                    Macy's Bankruptcy
                    PO Box 8053
                    Mason, OH 45040


                    Macys/fdsb
                    PO Box 8218
                    Mason, OH 45040


                    Midland Credit Management
                    PO Box 939019
                    San Diego, CA 92193


                    Midland Credit Management
                    8875 Aero Dr
                    San Diego, CA 92123


                    Online Collections
                    PO Box 1489
                    Winterville, NC 28590
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                    Online Collections
                    202 W Fire Tower Rd
                    Winterville, NC 28590


                    Southside Electric Co-Op
                    202 West Fire Tower Road
                    Winterville, NC 28590


                    Sprint
                    2703 W. Highway 75
                    Sherman, TX 75092


                    Visa DSNB
                    Attn: Bankruptcy
                    PO Box 8053
                    Mason, OH 45040


                    Visdsnb
                    9111 Duke Blvd
                    Mason, OH 45040


                    West Asset Management
                    Attn: Bankruptcy
                    2703 North Highway 75
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B22C (Official Form 22C) (Chapter 13) (04/10)

        Mohamed E Hassan                                                                     According to the calculations required by this statement:
 In re  Miriam A Hassan                                                          The applicable commitment period is 3 years.
                Debtor(s)                                                        The applicable commitment period is 5 years.
 Case Number:                                                                    Disposable income is determined under § 1325(b)(3).
                       (If known)
                                                                                 Disposable income is not determined under § 1325(b)(3).
                                                                               (Check the boxes as directed in Lines 17 and 23 of this statement.)


                       CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                 AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.
                                                                          Part I. REPORT OF INCOME
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1       a. Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
             b. Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
             All figures must reflect average monthly income received from all sources, derived during the six        Column A                           Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the             Debtor's                          Spouse's
             six-month total by six, and enter the result on the appropriate line.                                      Income                           Income

     2       Gross wages, salary, tips, bonuses, overtime, commissions.                                                        $       2,416.67 $           3,734.52
             Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 3. If you operate more than one business,
             profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
             number less than zero. Do not include any part of the business expenses entered on Line b as
     3       a deduction in Part IV.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $               0.00 $                  0.00
              b.     Ordinary and necessary business expenses $                   0.00 $                  0.00
              c.     Business income                              Subtract Line b from Line a                    $                          0.00 $                0.00
             Rents and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part IV.
     4                                                                 Debtor                Spouse
              a.    Gross receipts                               $              0.00 $                 0.00
              b.    Ordinary and necessary operating expenses $                 0.00 $                 0.00
              c.    Rent and other real property income          Subtract Line b from Line a                                   $            0.00 $                0.00
     5       Interest, dividends, and royalties.                                                                               $            0.00 $                0.00
     6       Pension and retirement income.                                                                                    $            0.00 $                0.00
             Any amounts paid by another person or entity, on a regular basis, for the household
     7       expenses of the debtor or the debtor's dependents, including child support paid for that
             purpose. Do not include alimony or separate maintenance payments or amounts paid by the
             debtor's spouse.                                                                                                  $            0.00 $                0.00
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                          0.00 Spouse $               0.00 $               0.00 $                0.00




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             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Total and enter on Line 9. Do not include alimony or separate
             maintenance payments paid by your spouse, but include all other payments of alimony or
             separate maintenance. Do not include any benefits received under the Social Security Act or
     9       payments received as a victim of a war crime, crime against humanity, or as a victim of
             international or domestic terrorism.
                                                                     Debtor                    Spouse
              a.                                             $                        $
              b.                                             $                        $                      $                      0.00 $                 0.00
    10       Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9
             in Column B. Enter the total(s).                                                               $                    2,416.67 $          3,734.52
    11       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
             the total. If Column B has not been completed, enter the amount from Line 10, Column A.        $                                       6,151.19

                                     Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12       Enter the amount from Line 11                                                                                              $            6,151.19
             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
             calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
             enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for
             the household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
             income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
    13       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
             on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
              a.                                                                              $
              b.                                                                              $
              c.                                                                              $
             Total and enter on Line 13                                                                                                 $                  0.00
    14       Subtract Line 13 from Line 12 and enter the result.                                                                        $            6,151.19

    15       Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
             enter the result.                                                                                                          $          73,814.28
             Applicable median family income. Enter the median family income for applicable state and household size. (This
    16       information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

              a. Enter debtor's state of residence:                      VA              b. Enter debtor's household size:   5          $          93,086.00
             Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years" at the
    17           top of page 1 of this statement and continue with this statement.
                The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5 years" at
                 the top of page 1 of this statement and continue with this statement.
                                 Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18       Enter the amount from Line 11.                                                                                             $            6,151.19
             Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of
             any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
             debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B income(such as
             payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
             dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
    19       separate page. If the conditions for entering this adjustment do not apply, enter zero.
              a.                                                                              $
              b.                                                                              $
              c.                                                                              $
             Total and enter on Line 19.                                                                                                $                  0.00
    20       Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                               $            6,151.19

    21       Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
             enter the result.                                                                                                          $          73,814.28

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    22       Applicable median family income. Enter the amount from Line 16.                                                           $        93,086.00
             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under §
    23           1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
                The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not determined under §
                 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                     Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                    Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
   24A       Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living Expenses for the
             applicable household size. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
             bankruptcy court.)                                                                                                        $
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of your
             household who are under 65 years of age, and enter in Line b2 the number of members of your household who are
             65 years of age or older. (The total number of household members must be the same as the number stated in Line
             16b.) Multiply Line a1 by Line b1 to obtain a total amount for household members under 65, and enter the result in
   24B       Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65 and older, and enter the
             result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 24B.
              Household members under 65 years of age                                    Household members 65 years of age or older
              a1.       Allowance per member                                             a2.   Allowance per member
              b1.       Number of members                                                b2.   Number of members
              c1.       Subtotal                                                         c2.   Subtotal                                $
             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
   25A       Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                               $
             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and household size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
             Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter
   25B       the result in Line 25B. Do not enter an amount less than zero.
              a.      IRS Housing and Utilities Standards; mortgage/rent Expense                      $
              b.      Average Monthly Payment for any debts secured by your
                      home, if any, as stated in Line 47                                              $
              c.      Net mortgage/rental expense                                                     Subtract Line b from Line a.     $
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
             25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    26       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                       $
             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
             expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
             regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
   27A       included as a contribution to your household expenses in Line 7. 0       1     2 or more.
             If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)             $




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             Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
             for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   27B       your public transportation expenses, enter on Line 27B the "Public Transportation" amount from the IRS Local
             Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
             court.)                                                                                                                $
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.) 1        2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    28       Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter
             the result in Line 28. Do not enter an amount less than zero.
              a.      IRS Transportation Standards, Ownership Costs                      $
                      Average Monthly Payment for any debts secured by Vehicle
              b.      1, as stated in Line 47                                            $
              c.      Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.                  $
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 28.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    29       Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter
             the result in Line 29. Do not enter an amount less than zero.
              a.      IRS Transportation Standards, Ownership Costs                      $
                      Average Monthly Payment for any debts secured by Vehicle
              b.      2, as stated in Line 47                                            $
              c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.                  $
             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    30       state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                            $
             Other Necessary Expenses: mandatory deductions for employment. Enter the total average monthly payroll
    31       deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
             uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                              $
             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    32       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
             any other form of insurance.                                                                                              $
             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    33       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
             include payments on past due obligations included in line 49.                                                             $
             Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
    34       the total average monthly amount that you actually expend for education that is a condition of employment and for
             education that is required for a physically or mentally challenged dependent child for whom no public education
             providing similar services is available.                                                                          $

    35       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
             childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.             $
             Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health
    36       care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance
             or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do not include
             payments for health insurance or health savings accounts listed in Line 39.                                               $
             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    37       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
             pagers, call waiting, caller id, special long distance, or internet service-to the extent necessary for your health and
             welfare or that of your dependents. Do not include any amount previously deducted.                                        $
    38       Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                       $

                                               Subpart B: Additional Living Expense Deductions
                                      Note: Do not include any expenses that you have listed in Lines 24-37

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             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
             the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
             dependents.
    39        a.          Health Insurance                                               $
              b.          Disability Insurance                                           $
              c.          Health Savings Account                                         $
             Total and enter on Line 39                                                                                            $

             If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
             below:
             $
             Continued contributions to the care of household or family members. Enter the total average actual monthly
    40       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
             ill, or disabled member of your household or member of your immediate family who is unable to pay for such
             expenses. Do not include payments listed in Line 34.                                                                  $
             Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    41       actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or other
             applicable federal law. The nature of these expenses is required to be kept confidential by the court.              $
             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    42       Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
             trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
             claimed is reasonable and necessary.                                                                            $
             Education expenses for dependent children under 18. Enter the total average monthly expenses that you
             actually incur, not to exceed $147.92 per child, for attendance at a private or public elementary or secondary
    43       school by your dependent children less than 18 years of age. You must provide your case trustee with
             documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
             necessary and not already accounted for in the IRS Standards.                                                         $
             Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
             expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    44       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
             or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
             reasonable and necessary.                                                                                             $
             Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
    45       contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
             170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                               $
    46       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                           $




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                                                             Subpart C: Deductions for Debt Payment
             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
             own, list the name of creditor, identify the property securing the debt, state the Average Monthly Payment, and
    47       check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
             scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
             case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
             Payments on Line 47.
                    Name of Creditor                Property Securing the Debt                    Average          Does payment
                                                                                                  Monthly          include taxes
                                                                                                  Payment          or insurance
               a.                                                                             $                      yes no
                                                                                              Total: Add Lines                       $
             Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence, a
             motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    48       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
             payments listed in Line 47, in order to maintain possession of the property. The cure amount would include any
             sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
             the following chart. If necessary, list additional entries on a separate page.
                    Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
               a.                                                                              $
                                                                                                               Total: Add Lines      $
             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    49       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
             not include current obligations, such as those set out in Line 33.                                                      $
             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
             resulting administrative expense.

              a.        Projected average monthly Chapter 13 plan payment.                    $
    50        b.        Current multiplier for your district as determined under schedules
                        issued by the Executive Office for United States Trustees. (This
                        information is available at www.usdoj.gov/ust/ or from the clerk of
                        the bankruptcy court.)                                                x
              c.        Average monthly administrative expense of Chapter 13 case             Total: Multiply Lines a and b          $
    51       Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                              $

                                                            Subpart D: Total Deductions from Income
    52       Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                           $

                             Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
    53       Total current monthly income. Enter the amount from Line 20.                                                            $
             Support income. Enter the monthly average of any child support payments, foster care payments, or disability
    54       payments for a dependent child, reported in Part I, that you received in accordance with applicable nonbankruptcy
             law, to the extent reasonably necessary to be expended for such child.                                                  $
             Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
    55       wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of
             loans from retirement plans, as specified in § 362(b)(19).                                                            $
    56       Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                       $




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             Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
             there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c below.
             If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57. You must
             provide your case trustee with documentation of these expenses and you must provide a detailed explanation
             of the special circumstances that make such expense necessary and reasonable.
    57                Nature of special circumstances                                                     Amount of Expense
              a.                                                                                          $
              b.                                                                                          $
              c.                                                                                          $
                                                                                                          Total: Add Lines                       $

    58       Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter the
             result.                                                                                                                             $
    59       Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                                   $

                                                         Part VI. ADDITIONAL EXPENSE CLAIMS
             Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
             of you and your family and that you contend should be an additional deduction from your current monthly income under §
             707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
             each item. Total the expenses.

    60                Expense Description                                                                                     Monthly Amount
              a.                                                                                               $
              b.                                                                                               $
              c.                                                                                               $
              d.                                                                                               $
                                                                         Total: Add Lines a, b, c and d        $
                                                                             Part VII. VERIFICATION
             I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
             must sign.)
                           Date: November 27, 2010                                       Signature: /s/ Mohamed E Hassan
                                                                                                      Mohamed E Hassan
    61                                                                                                           (Debtor)

                                Date:      November 27, 2010                                       Signature       /s/ Miriam A Hassan
                                                                                                                    Miriam A Hassan
                                                                                                                             (Joint Debtor, if any)




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                                                    Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 05/01/2010 to 10/31/2010.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: George Mason University
Constant income of $1,400.00 per month.



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Mohamed E. Hassan, PE
Income by Month:
 6 Months Ago:                                   05/2010                       $0.00
 5 Months Ago:                                   06/2010                       $0.00
 4 Months Ago:                                   07/2010                       $0.00
 3 Months Ago:                                   08/2010                   $2,000.00
 2 Months Ago:                                   09/2010                   $4,100.00
 Last Month:                                     10/2010                       $0.00
                                 Average per month:                        $1,016.67




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                                            Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 05/01/2010 to 10/31/2010.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: DeVry University
Year-to-Date Income:
Starting Year-to-Date Income: $17,930.35 from check dated                                 4/30/2010   .
Ending Year-to-Date Income: $40,337.47 from check dated                                  10/31/2010   .
Income for six-month period (Ending-Starting): $22,407.12 .
Average Monthly Income: $3,734.52 .




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